                                                                            DISTRICT OF OREGON
                                                                                 FILED
                                                                               January 15, 2019
                                                                          Clerk, U.S. Bankruptcy Court



         Below is an order of the court.

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 5                                                       _______________________________________
                                                                   PETER C. McKITTRICK
 6                                                                 U.S. Bankruptcy Judge

 7
 8                               UNITED STATES BANKRUPTCY COURT

 9                                 FOR THE DISTRICT OF OREGON

10   In Re:                                       Bankruptcy Case
                                                  No. 16-33185-pcm7
11   PETER SZANTO,

12                       Debtor.
                                                  Adv. Proc. No. 16-3114-pcm
13   PETER SZANTO,
14                       Plaintiff,               ORDER RESOLVING DEFENDANTS’ MOTION
            v.                                    TO POSTPONE TRIAL (DOC. 434),
15
                                                  SETTING TRIAL AND BRIEFING
16   EVYE SZANTO, VICTOR SZANTO, NICOLE           SCHEDULE
     SZANTO, KIMBERLEY SZANTO, MARIETTE
17   SZANTO, ANTHONY SZANTO, AUSTIN
     BELL, JOHN BARLOW, and BARBARA
18
     SZANTO ALEXANDER,
19
                          Defendants.
20
21        On January 8, 2019, defendants filed their Motion to Postpone Trial

22   (“Motion”) (doc. 434).         In their motion, defendants request a 30-day

23   set-over of the trial currently scheduled to begin on March 26, 2019.

24   In defendants’ certification of conferral, defendants reported that

25   plaintiff did not object to a set-over of the trial but requested a six-

26   week set-over.      Defendants’ request was based, in part, on the briefing


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     434), SETTING TRIAL AND BRIEFING SCHEDULE

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 1   demands presented by the appeals related to the above-captioned case

 2   currently pending in District Court.

 3        As a general rule, the appeals pending in District Court related to
 4   the above-captioned case do not stay the progression of the case in this

 5   court.    However, considering the substantial briefing demands faced by

 6   both parties, and in the interest of justice and good cause appearing
 7   therefor,
 8        IT IS HEREBY ORDERED that:

 9        1.     The trial will be rescheduled to take place August 26, 27 and
10   28, 2019 at 9:00 a.m. in United States Bankruptcy Court, District of
11   Oregon, Courtroom No. 1, located at 1050 SW 6th Avenue #700, Portland, OR

12   97204.

13        2.     The Final Pretrial Conference will be held on August 20, 2019

14   at 1:30 p.m. in United States Bankruptcy Court, District of Oregon,

15   Courtroom No. 1, located at 1050 SW 6th Avenue #700, Portland, OR 97204.

16        3.     No later than July 26, 2019, the parties shall exchange and

17   deliver to the court (but not electronically file) three copies of all

18   exhibits they intend to introduce in connection with the Final Hearing,

19   except impeachment exhibits.     Creditor and the Trustee shall also file

20   with the Court a copy of their exhibit lists.          The exhibits must be

21   marked and paginated in compliance with LBR 9017-1(b).            In addition,

22   exhibits in excess of 10 should be tabbed and presented in a three-ring

23   binder. Except for good cause shown, no exhibits will be received in

24   evidence at the Final Hearing unless presented in accordance with this

25   order.

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 1         4.   Any objections to exhibits based on lack of foundation or

 2   authenticity must be filed no later than August 9, 2019.            The court will

 3   rule on any evidentiary objections at the Final Pretrial Conference.
 4         5.   No later than July 26, 2019, the parties shall exchange and

 5   file with the court a list of any witnesses they intend to have testify

 6   at the final hearing.   Any witness whose name is not included on a
 7   party’s witness list will not be allowed to testify, except for good
 8   cause shown or solely for the purpose of impeachment.

 9         6.   Defendants should consolidate their submissions and should not
10   each file individual submissions.
11         7.   This amended scheduling order shall not be modified except

12   upon a showing of good cause and leave by the court.             Any request for
13   any modification of this order must be by written motion supported by an
14   affidavit stating sufficient facts demonstrating good cause, appropriate

15   use of prior time and that the extension/continuance was requested at
16   the earliest possible time, and no later than three business days before
17   the date for which the extension is sought.        The affidavit or

18   declaration supporting any motion to modify this amended scheduling
19   order shall authenticate and include exhibits or documents supporting

20   the factual contentions to the extent such documents or exhibits exist.

21   Any motion not timely filed or adequately supported by evidence may be
22   denied without hearing.

23                                         ###
     Cc:   Mr. Henderson
24         Mr. Szanto
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